                    Case 6:18-bk-06021-KSJ                         Doc 37          Filed 03/22/19              Page 1 of 33



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                            Case 6:18-bk-06021-KSJ                                                      Doc 37                          Filed 03/22/19                       Page 2 of 33



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                        Case 6:18-bk-06021-KSJ                                Doc 37                    Filed 03/22/19                            Page 3 of 33



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                Case 6:18-bk-06021-KSJ        Doc 37   Filed 03/22/19               Page 4 of 33



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Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 5 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 6 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 7 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 8 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 9 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 10 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 11 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 12 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 13 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 14 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 15 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 16 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 17 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 18 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 19 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 20 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 21 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 22 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 23 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 24 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 25 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 26 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 27 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 28 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 29 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 30 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 31 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 32 of 33
Case 6:18-bk-06021-KSJ   Doc 37   Filed 03/22/19   Page 33 of 33
